 Case 18-70296-jwc         Doc 17 Filed 03/03/19 Entered 03/04/19 01:36:02        Desc Imaged
                                 Certificate of Notice Page 1 of 2
                                  UNITED STATES BANKRUPTCY COURT
                                       Northern District of Georgia
                                            Atlanta Division


In    Debtor(s)
Re:                                                      Case No.: 18−70296−jwc
      John Mark Long
                                                         Chapter: 13




                                      NOTICE TO DEBTOR
                            THAT COURSE ON FINANCIAL MANAGEMENT
                              IS REQUIRED TO RECEIVE DISCHARGE



      Upon review of the docket in the above−styled case, it appears that Debtor or Debtors
(hereinafter "Debtor") has not filed Form 423 (Certification About a Financial Management
Course) showing that Debtor has completed the personal financial management course or is
exempt. Sections 727(a)(11), 1141(d)(3)(C), and 1328(g) of Title 11, U.S.Code, require an
individual debtor in a Chapter 7, 11, or 13 case to complete an instructional course on personal
financial management after filing the case unless Debtor obtains an order granting an applicable
exemption provided by §109(h)(4). To comply with the course requirement, a debtor must
timely file Form 423 with the Clerk's office. See Bankruptcy Rule 1007(b) and (c) and Official
Form 423 (12/15). Failure to timely file Form 423 may result in the case being closed without
Debtor receiving a discharge.
      A Chapter 7 debtor must file Form 423 within 60 days after the first date set for the
meeting of creditors. Chapter 11 and 13 debtors must file Form 423 no later than the date the last
payment is made as required by the plan or the date a motion for entry of discharge is filed. If
Debtor subsequently files a motion to reopen the case in order to file Form 423, Debtor must pay
the appropriate fee to reopen the case. THIS NOTICE WILL BE THE ONLY REMINDER
ABOUT THE COURSE REQUIREMENT.
      This Notice will be served upon the Debtor, counsel for Debtor, and the Trustee.




Dated: March 1, 2019



** Mailing Address
 United States Bankruptcy Court
1340 United States Courthouse
75 Ted Turner Drive SW                                   M. Regina Thomas
Atlanta, GA 30303                                        Clerk of Court
                                                         U.S. Bankruptcy Court

Form 417 (Effective 12/01/2015)
        Case 18-70296-jwc             Doc 17 Filed 03/03/19 Entered 03/04/19 01:36:02                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-70296-jwc
John Mark Long                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 01, 2019
                                      Form ID: 417                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 03, 2019.
db             +John Mark Long,   4556 Duane Drive,   Buford, GA 30519-7531

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 03, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 1, 2019 at the address(es) listed below:
              Bryce R. Noel    on behalf of Creditor   Seterus, Inc ecfganb@aldridgepite.com,
               bnoel@ecf.inforuptcy.com
              Howard P. Slomka    on behalf of Debtor John Mark Long se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Nancy J. Whaley    ecf@njwtrustee.com
                                                                                              TOTAL: 3
